Case 1:21-cv-00304-RMR-NYW Document 38 Filed 09/14/21 USDC Colorado Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO



  ROBERT HARRISON, on behalf of himself,
  the ENVISION MANAGEMENT
  HOLDING, INC. ESOP, and all other
  similarly situated individuals,

                  Plaintiff,

  v.                                                   Civil Action No. 1:21-cv-304-RMR
  ENVISION MANAGEMENT HOLDING,
  INC. BOARD OF DIRECTORS, et al.,

                  Defendants.

                           NOTICE OF SUPPLEMENTAL AUTHORITY

         Plaintiff Robert Harrison respectfully submits this Notice of Supplemental Authority

  pursuant to Local Rule 7.1(f). Subsequent to Plaintiff’s submission of his Memorandum in

  Opposition to Defendants’ Motion to Compel Arbitration and/or Dismiss (“Opposition Brief”)

  (ECF No. 35), the United States Court of Appeals for the Seventh Circuit issued a decision in

  Smith v. Board of Directors of Triad Manufacturing, Inc., No. 20-2708 (7th Cir. Sept. 10, 2021),

  which reached a narrow holding that is directly on point here. The Smith decision is attached hereto

  as Exhibit A.

         Specifically, the Seventh Circuit held that an arbitration clause which precludes plan-wide

  remedies like fiduciary removal or appointment of an independent fiduciary impermissibly

  eliminates statutory remedies under ERISA. Ex. A at 2, 14-16. The arbitration provision in Smith

  is materially identical to the provision at issue here. Compare Ex. A at 4-5 (quoting arbitration

  provision) with ECF No. 34 at 3 and ECF No. 34-1 § 21.1(b) (regarding limitation of claims to


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Case 1:21-cv-00304-RMR-NYW Document 38 Filed 09/14/21 USDC Colorado Page 2 of 2




  individualized relief, and non-severability). Thus, the Seventh Circuit’s holding in Smith directly

  supports Plaintiff’s argument at pages 7-8 of the Opposition Brief, that the arbitration provision in

  this case is unenforceable because it “makes it impossible . . . to remove the Plan fiduciary[.]”

  Moreover, because the arbitration provision in this case contains a non-severability clause that is

  identical to the non-severability clause in Smith, compare Ex. A at 4-5 (quoting arbitration

  provision) with ECF No. 34 at 3 and ECF No. 34-1 § 21.1(b) (non-severability), the narrow holding

  in Smith is sufficient to dispose of Defendants’ motion to compel arbitration here.

         Plaintiff respectfully asks the Court to consider this supplemental authority in addressing

  the Opposition Brief.



  September 14, 2021                                   Respectfully submitted,

                                                       /s/ Mary J. Bortscheller
                                                       Michelle C. Yau
                                                       Mary J. Bortscheller
                                                       COHEN MILSTEIN SELLERS & TOLL
                                                       PLLC
                                                       1100 New York Ave. NW
                                                       Fifth Floor
                                                       Washington, DC 20005
                                                       (202) 408-4600
                                                       myau@cohenmilstein.com
                                                       mbortscheller@cohenmilstein.com

                                                       Attorneys for Plaintiff




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